Case 1:24-cr-00199-MSN Document55_ Filed 03/20/25 Page 1 of 9 PagelD# 337

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

spines, FILED
Alexandria Division : IN OPEN COURT
UNITED STATES OF AMERICA WOR 2 0 205
Vv. No. 1:24-cr-199 | CLERK, U.S. DISTRICT Co. 27
ALEXANDRIA. VIRGINIA _
GOKHAN GUN,
Defendant.

PLEA AGREEMENT

Erik S. Siebert, United States Attorney for the Eastern District of Virginia; undersigned
counsel for the United States: the defendant, GOKHAN GUN, and the defendant’s counsel have
entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The
terms of this Plea Agreement are as follows:

I Offense and Maximum Penalties

The defendant agrees to plead guilty to Count One of the Indictment charging the
defendant with Unauthorized Removal and Retention of Classified Documents, in violation of
Title 18 U.S.C. §1924. The maximum penalties for this offense are: a maximum term of 5 years
of imprisonment, a fine of $250,000 pursuant to 18 U.S.C. § 3571(b)(3), a special assessment of
$100 pursuant to 18 U.S.C. § 3013(a)(2)(a), and a term of supervised release of 3 years pursuant
to 18 U.S.C. § 3583(b)(2). The defendant understands that any supervised release term is in
addition to any prison term the defendant may receive, and that a violation of a term of
supervised release could result in the defendant being returned to prison for the full term of

supervised release.
Case 1:24-cr-00199-MSN Document55 ~~ Filed 03/20/25 Page 2 of 9 PagelD# 338

2. Factual Basis for the Plea
The defendant will plead guilty because the defendant is in fact guilty of the charged
offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea
Agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable
doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,
constitutes a stipulation of facts for purposes of Section 1B1.2(c) of the Sentencing Guidelines.
3. Assistance and Advice of Counsel
The defendant is satisfied that the defendant’s attorney has rendered effective assistance.
The defendant understands that by entering into this Plea Agreement, defendant surrenders
certain rights as provided in this agreement. The defendant understands that the rights of
criminal defendants include the following:
a. the right to plead not guilty and to persist in that plea;
b. the right to a jury trial;

c. the right to be represented by counsel—and, if necessary, have the court
appoint counsel—at trial and at every other stage of the proceedings; and

d. the right at trial to confront and cross-examine adverse witnesses, to be
protected from compelled self-incrimination, to testify and present
evidence, and to compel the attendance of witnesses.

4, Sentencing Guidelines, Recommendations, and Roles

The defendant understands that the Court has jurisdiction and authority to impose any
sentence within the statutory maximum described above, but that the Court will determine the
defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands
that the Court has not yet determined a sentence and that any estimate of the advisory sentencing
range under the U.S. Sentencing Commission’s Sentencing Guidelines Manual the defendant

may have received from the defendant’s counsel, the United States, or the Probation Office, is a
Case 1:24-cr-00199-MSN Document55_ Filed 03/20/25 Page 3 of 9 PagelD# 339

prediction, not a promise, and is not binding on the United States, the Probation Office, or the
Court. Additionally, pursuant to the Supreme Court’s decision in United States v. Booker, 543
U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may
impose a sentence above or below the advisory sentencing range, subject only to review by
higher courts for reasonableness. The United States makes no promise or representation
concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty
plea based upon the actual sentence.

The United States and the defendant further agree that the defendant has assisted the
government in the investigation and prosecution of the defendant’s own misconduct by timely
notifying authorities of the defendant’s intention to enter a plea of guilty, thereby permitting the
government to avoid preparing for trial and permitting the government and the Court to allocate
their resources efficiently. If the defendant qualifies for a two-level decrease in offense level
pursuant to U.S.S.G. § 3E1.1(a) and the offense level prior to the operation of that section is a
level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3E1.1(b), a motion prior
to, or at the time of, sentencing for an additional one-level decrease in the defendant’s offense
level.

5. Waiver of Appeal, FOIA, and Privacy Act Rights

The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal
the conviction and any sentence within the statutory maximum described above (or the manner in
which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any
ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.
Case 1:24-cr-00199-MSN Document 55 Filed 03/20/25 Page 4 of 9 PagelD# 340

This agreement does not affect the rights or obligations of the United States as set forth in 18
U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation
any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the
Privacy Act, 5 U.S.C. § 552a.

6. Immunity from Further Prosecution in This District

The United States will not further criminally prosecute the defendant in the Eastern
District of Virginia for the specific conduct described in the Indictment or Statement of Facts,
except that the United States may prosecute the defendant for any crime of violence or
conspiracy to commit, or aiding and abetting, a crime of violence not charged in the Indictment
as an offense. In such a prosecution, the United States may allege and prove conduct described
in the Indictment or Statement of Facts. “Crime of violence” has the meaning set forth in 18
U.S.C. § 16. This Plea Agreement and Statement of Facts does not confer on the defendant any

immunity from prosecution by any state government in the United States.

7, Discovery Waiver

As part of this plea agreement and based upon the concessions of the United States in this
agreement, the defendant knowingly, willingly, and voluntarily gives up the right to seek any
additional discovery. Further, the defendant knowingly, willingly, and voluntarily waives all
requests for discovery. This waiver, however, shall not apply to any discovery that tends to
negate the defendant’s guilt or diminish the degree of the defendant’s culpability or the

defendant’s Offense Level under the U.S. Sentencing Guidelines.
Case 1:24-cr-00199-MSN Document55_ Filed 03/20/25 Page 5 of 9 PagelD# 341

8. Lifetime Obligation to Protect Classified Information

The defendant acknowledges that, in connection with his employment by the Department
of Defense (DoD), he entered into certain agreements proscribing the unauthorized disclosure of
protected information, including classified information, intelligence and intelligence-related
information, and other information acquired as part of the defendant’s performance of his official
duties. The defendant acknowledges his continuing duties and obligations under these
agreements, and they are hereby incorporated by reference.

The defendant understands and agrees that he has a continuing legal obligation to refrain
from the unauthorized oral or written disclosure of classified information, or information relating
to the national defense. The defendant understands and agrees that the law forbids him from
disclosing, communicating, transmitting, or disseminating any classified information, or
information relating to the national defense, without regard to where, when, or how he learned of
or came into possession of the classified information or information relating to the national
defense. The defendant understands and agrees that merely because classified information, or
information relating to the national defense, may have appeared publicly does not render that
information unclassified.

9. Assignment of Any Profits or Proceeds from Publicity

Should the defendant at any time author or participate in the creation of any book,
writing, article, film, documentary, or other production, or otherwise provide information for
purposes of publication or dissemination, including but not limited to information provided
through interviews with writers or representatives of any media organization or entity, the
defendant hereby agrees first to submit in a timely fashion such book, writing, article, film,

documentary, other production, or information to the DoD and the FBI for timely pre-publication
Case 1:24-cr-00199-MSN Document55_ Filed 03/20/25 Page 6 of 9 PagelD# 342

review and deletion of information which, in the discretion of the DoD and the FBI, should not
be published or disseminated on the grounds of national security or the defendant’s pre-existing
agreements with the DoD.

10. Payment of Monetary Penalties

The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.
§ 3572, all monetary penalties imposed by the Court, including restitution, will be due
immediately and subject to immediate enforcement by the United States as provided for in
Section 3613. If the Court imposes a schedule of payments, the defendant understands that the
schedule of payments is merely a minimum schedule of payments and not the only method, nor a
limitation on the methods, available to the United States to enforce the judgment. Until all
monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program
so that any federal payment or transfer of returned property to the defendant will be offset and
applied to pay the defendant’s unpaid monetary penalties. If the defendant is incarcerated, the
defendant agrees to participate voluntarily in the Bureau of Prisons’ Inmate Financial
Responsibility Program, regardless of whether the Court specifically directs participation or
imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment
of all monetary penalties imposed by the Court.

11. Special Assessment

Before sentencing in this case, the defendant agrees to pay a mandatory special
assessment of $100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

12. Breach of the Plea Agreement and Remedies

This Plea Agreement is effective when signed by the defendant, the defendant’s attorney,

and an attorney for the United States. The defendant agrees to entry of this Plea Agreement at
Case 1:24-cr-00199-MSN Document55_ Filed 03/20/25 Page 7 of 9 PagelD# 343

the date and time scheduled with the Court by the United States (in consultation with the
defendant’s attorney). If the defendant withdraws from this agreement, or commits or attempts
to commit any additional federal, state, or local crimes, or intentionally gives materially false,
incomplete, or misleading testimony or information, or otherwise violates any provision of this
agreement, then:

a. The United States will be released from its obligations under this
agreement. The defendant, however, may not withdraw the guilty plea
entered pursuant to this agreement.

b. The defendant will be subject to prosecution for any federal criminal
violation, including, but not limited to, perjury and obstruction of justice,
that is not time-barred by the applicable statute of limitations on the date
this agreement is signed. Notwithstanding the subsequent expiration of
the statute of limitations, in any such prosecution, the defendant agrees to
waive any statute-of-limitations defense.

c. Any prosecution, including the prosecution that is the subject of this

agreement, may be premised upon any information provided, or
‘ statements made, by the defendant, and all such information, statements,

and leads derived therefrom may be used against the defendant. The
defendant waives any right to claim that statements made before or after
the date of this agreement, including the Statement of Facts accompanying
this agreement or adopted by the defendant and any other statements made
pursuant to this or any other agreement with the United States, should be
excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 116,
the Sentencing Guidelines, or any other provision of the Constitution or
federal law.

Any alleged breach of this agreement by either party shall be determined by the Court in
an appropriate proceeding at which the defendant’s disclosures and documentary evidence shall
be admissible and at which the moving party shall be required to establish a breach of this Plea
Agreement by a preponderance of the evidence.

13. Nature of the Agreement and Modifications

This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant’s counsel. The defendant and the defendant’s attorney
Case 1:24-cr-00199-MSN Document 55 Filed 03/20/25 Page 8 of 9 PagelD# 344

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this Plea Agreement or any associated documents

filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea

Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

signed by all parties.

Erik S. Siebert
United St Attorney

n T. Gibbs
Assistant United States Attorney

Chantelle Dial
Trial Attorney, United States Department of Justice

Case 1:24-cr-00199-MSN Document55_ Filed 03/20/25 Page 9 of 9 PagelD# 345

Defendant’s Signature: | hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending criminal Indictment. Further, I fully understand
all rights with respect to 18 U.S.C. § 3553 and the provisions of the Sentencing Guidelines
Manual that may apply in my case. I have read this Plea Agreement and carefully reviewed
every part of it with my attorney. I understand this agreement and voluntarily agree to it.

Date: a A oC Js 5 jy b/ lf M60

GOKHAN GUN

Defense Counsel’s Signature: J am counsel for the defendant in this case. I have fully
explained to the defendant the defendant’s rights with respect to the pending Indictment.
Further, I have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
fully explained to the defendant the provisions that may apply in this case. I have carefully
reviewed every part of this Plea Agreement with the defendant. To my knowledge, the
defendant’s decision to enter into this agreement is an informed and voluntary one.

Date: 3 /20/25 J ) ) i ——
David Benowitz
Counsel for the ant

